Case 18-71767-pmb     Doc 63   Filed 05/26/20 Entered 05/26/20 17:16:56    Desc Main
                               Document     Page 1 of 1
                                                              PLEASE TYPE OR PRINT



                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF GEORGIA

                       Request for Change of Address
           Michael J. Blydenstein
Case Name: _____________________________________________________

          18-71767-PMB
Case No.: _______________ Chapter: 7_______

Change of Address for:
                                                                           ✔
     Debtor ___ Creditor ___ Attorney for Debtor ___ Attorney for Creditor___

Change for:
                                                             ✔
     Notices ONLY ___ Payments ONLY ___ Notices and Payments ___

EFFECTIVE DATE OF CHANGE:              05/26/2020
                                       ___________________

Name:                                   Leon S. Jones
                                       ______________________________________
Prior Address:                          Jones & Walden LLC
                                       ______________________________________
                                        21 Eighth Street, NE
                                       ______________________________________
                                       ______________________________________
                                        Atlanta, GA 30309

************************************************************************

New Address:                           Jones & Walden LLC
                                       ______________________________________
                                       699 Piedmont Avenue, NE
                                       ______________________________________
                                       ______________________________________
                                       Atlanta, GA 30308


Change of Address Was Furnished By:                                        ✔
                                       Debtor_____ Creditor_____ Attorney _____

Date: _________
      05/26/2020                                     /s/ Leon S. Jones
                                 Signature of Filer: _____________________________
                                 Telephone Number: _________________________
                                                       (404) 564-9300
                                                    Attorney for Southern Dairies Partners, LLC

                               IF FILED BY ATTORNEY

Attorney Name:                         ____________________________________
                                       Leon S. Jones

Bar ID:                                003980
                                       ____________________________________
Address:                               699 Piedmont Avenue, NE
                                       ____________________________________
                                       ____________________________________
                                       Atlanta, GA 30308


Revised August 2012
